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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS

FAYETTEVILLE DIVISION
UNITED STATES OF AMERICA PLAINTIFF
V. CASE NO. 5:21-CR-50014-001
JOSHUA JAMES DUGGAR DEFENDANT
ORDER

 

Before the Court is Defendant Joshua James Duggar’s Motion to Continue Trial
filed June 17, 2021 (Doc. 26) and the Government's Response thereto filed June 21, 2021
(Doc. 27).

IT APPEARING to the Court after an in camera scheduling conference with
counsel and a review of the pleadings, that a continuance is appropriate, itis ORDERED
that the Motion be, and it is hereby, GRANTED to the extent that the case is reset for a
JURY TRIAL to commence at the call of court during its trial term beginning on
NOVEMBER 30, 2021, at 9:00 a.m. A pretrial conference shall be conducted on
NOVEMBER 18, 2021, at 9:00 a.m.

An Amended Pretrial Scheduling Order with revised deadlines will be
entered separately.

The Court grants this continuance based on its findings that the ends of justice
served by taking such action outweigh the best interest of the public and the defendant in
a speedy trial, because otherwise the defendant's counsel would be denied the
reasonable time necessary for effective preparation, taking into account the exercise of

due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv). The time between the trial date of July
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6, 2021, and the reset trial term of November 30, 2021, which potentially extends through
December 3, 2021, is excludable for speedy trial purposes. See 18 U.S.C. §
3161(h)(7)(A). th

IT IS SO ORDERED this 44 day of June,

    
  

 

 
 

D STATES DISTRICT JUDGE
